  8:06-cr-00153-LSC-TDT            Doc # 41   Filed: 06/06/06   Page 1 of 1 - Page ID # 51




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )          8:06CR153
                                                     )
       vs.                                           )           ORDER
                                                     )
JAIME RAMOS GONZALEZ,                                )
                                                     )
                      Defendant.                     )


       This matter is before the court on defendant Jaime Ramos Gonzalez’s (Gonzalez)
motions to continue a hearing (Filing No. 37) and to continue trial (Filing No. 38). On May
17, 2006, Gonzalez was released on various conditions including the requirement he reside
at CH, Inc., in Council Bluffs, Iowa, and follow the rules of such facility (Filing No. 20). On
May 26, 2006, Gonzalez left CH, Inc., without authorization and absconded from
supervision. A warrant for his arrest has been issued, and Gonzalez is now a fugitive.
       There is no reason to consider Gonzalez’s motions while he remains a fugitive.
Essentially, Gonzalez has abandoned his motions to continue under the fugitive
disentitlement doctrine. See Molinaro v. New Jersey, 396 U.S. 365 (1970); Wayne v.
Wyrick, 646 F.2d 1268, 1270 (8th Cir. 1981). Accordingly, Gonzalez’s motions to continue
(Filing Nos. 37 and 38) will be denied without prejudice to reassertion should he again
subject himself to the jurisdiction of this court.
       IT IS ORDERED:
       Gonzalez’s motions to continue (Filing Nos. 37 and 38) are denied.
       DATED this 6th day of June, 2006.
                                                     BY THE COURT:
                                                     s/Thomas D. Thalken
                                                     United States Magistrate Judge
